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SESSION LAWS

OF

HAWAII

PASSED BY THE
FIFTEENTH STATE LEGISLATURE

REGULAR SESSION
1990

Convened on Wednesday, January 17
and
Adjourned sine die on Friday, May 4

Published by Authority of the
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Honolulu, Hawauii

EXHIBIT “N”
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ACT 195

ACT 195 H.B. NO. 2191

A Bill for an Act Relating to Weapons.
Be It Enacted by the Legislature of the State of Hawaii:

SECTION |. Section 134-1, Hawaii Revised Statutes, is amended by
amending the definition of “automatic firearm" to read as follows:

“Automatic firearm" means any firearm that shoots, is designed to
shoot, or can be readily [restored] modified to shoot automatically more than
one shot, without a! manual reloading, by a single function of the trigger. This
term shall also include the frame_or receiver of any such firearm, any part
designed and intended solely and exclusively, or any combination of parts
designed and intended, for use in converting a firearm inioan automatic firearm,
and any combination of parts from which an automatic firearm can be assem-
bled if the parts are in the possession or under the control of a single person,”

SECTION 2. Section 134-6, Hawaii Revised Statutes, is amended to read
as follows:

“8134-6 Possession or use of firearm in the commission of a felony; [Place]
place to keep firearms; loaded firearms’; penalty. (a) It shall be unlawful for a

erson to knowingly po r intentionally use or threaten to use a firearm
while engaged in the commission of a felony, whether the firearm was Joaded or
not, and whether operable or not.

f(a] (b) Except as provided in sections 134-5 and 134-9, all firearms and
ammunition shal! be confined to the possessor's place of business, residence, or
sojourn; provided that it shall be lawful to carry unloaded firearms or ammuni-
tion or both in an enclosed container from the place of purchase to the
purchaser's place of business, residence, or sojourn, or between these places
upon change of place of business, residence or sojourn, or between thesc places
and the following: a place of repair; a target range; 4 licensed dealer's place of
business; an organized, scheduled firearms show or exhibit; a place of formal
hunter or firearm use training or instruction; or a police station. “Enclosed
container” means a rigidly constructed receptacle, or a commercially manufac-
tured gun case, or the equivalent thereof that completely encloses the firearm.

{(b)} (c) It shall be unlawful for any person on any public highway to carry
on the person, or to have in the person's possession, or to carry in a vehicle any
firearm loaded with ammunition; provided that the provision of this paragraph
shall not apply to any person who has in the person's possession ur Carries a
pistol or revolver and ammunition therefor in accordance with a license issued as

tou is i
a class A felony, Any person violating this section by carrying or possessing a
joaded firearm or by carrying or possessing a loaded or unloaded pistol or
revolver without a license issued as provided in section 134-9 shail be guilty of a
class [C] B felony. Any person violating this section by carrying or possessing an
unloaded firearm, other than a pistol or revolver, shall be guilty of a

SECTION 3. Section 134-51, Hawaii Revised Statutes, is amended to

read as follows:

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“§134-51 [Carrying deadly| Deadly weapons; prohibitions penalty. (a) Any
person not authorized by law, who carries concealed upon one’s person or within
any vehicle used or occupied by the person, or who is found armed with any dirk,
dagger, blackjack, slug shot, billy, metal knuckles, pistol, or other deadly or
dangerous weapon, shall be [fined a minimum of $500, and! more than $1 ,000 or
imprisoned nol more than one year, or both] guilty of a misdemeanor. Any such
person may be immediately arrested without warrant by any sheriff, police
officer, or other officer or person. Any weapon, above enumerated, shall, upon
conviction of the one carrying or possessing same under this section, be summa-
tily destroyed by the chief of police or sheriff.

(b) Whoever knowingly possesses or intentionally uses or threatens fo use

adeadly or dangerous weapon while engaged in the commission of a crime shall

be guilty of a class C felony.”

SECTION 4. Section 134-52, Hawaii Revised Statutes, is amended to
read as follows:

“{II§134-52 Switchblade knives; prohibitions; penalty.{|| (a) Whoever
knowingly manufactures, sells, transfers, possesses, or transports in the State
any switchblade knife, being any knife having a blade which opens automatically
(1) by hand pressure applied to a button or other device in the handle of the
knife, or (2) by operation of inertia, gravity, or both, shall be [fined not more
than $1,000 or imprisoned not more than one year, or both] guilty of a misde-
meanor.

(b) Whoever knowingly possesses or intentionally uses or threatens to use
a switchblade knife while engaged in the commission of a crime shall be guilty of
aclass C felony.”

SECTION 5. Section 706-660.1, Hawaii Revised Statutes, is amended to
tread as follows:

“*§706-660.1 Sentence of imprisonment for use of a firearm,' semi-auto-
matic firearm, or automatic firearm ina felony. (a) A person convicted of a felony,
where the person had a firearm in his possession or threatened its use or used the
firearm while enguged in the commission of the felony, whether the firearm was
loaded or not, and whether operabic or not, may in addition to the indeterminate
term of imprisonment provided for the grade of offense[s] be sentenced to a
mandatory minimum term of imprisonment without possibility of parole or
probation the length of which shall be as follows:

(1) For murder in the second sates and attempted murder in the

second degree - up to [15] fifteen years:

(2) Foractass A felony - up to (10} ten years;

(3) Fora class B felony ~ up to BI five years; and

(4) Foraclass C felony - up to [3] three years.

The sentence of imprisonment for a elony involving the use of a firearm as
provided in the' subsection shall not be subject to the procedure for determining
Minimum term of imprisonment prescribed under section 706-699,' provided
further that a person who is imprisoned in a correctional institution as provided
in this subsection shall become subject to the parole procedure as prescribed in
section 706-670 only upon the expiration of the term of mandatory imprison-
ment fixed under (a)(1), (2), (3), or (4), herein.

(b) A person convicted of a second firearm felony offense as provided in
subsection (a), herein, where the person had a firearm in his possession or
threatened its use or used the firearm while engaged in the commission of the

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ACT 195

felony, whether the firearm was loaded or not, and whether operable or not, shall
in addition to the indeterminate term of imprisonment provided for the grade of
offense be sentenced to a mandatory minimum term of imprisonment without
possibility of parole or probation the length of which shall be as follows: |
(1) For murder in the second degree and! attempted _murder in the
second degree - twenty years; :
(2) For aclass A felony - thirteen years, four months; i
(3) Foraclass B felony - six years, eight months; and
(4) For aclass C felony - three years, four months.
The sentence of imprisonment for a second felony offense involving the use of a
firearm as provided in this subsection shall not be {exempted from] subject to the
procedure for determining a' minimum term of imprisonment prescribed under
section 706-669, provided further that a person who is imprisoned in a cor-
rectional institution as provided in this subsection shall become subject to the
parole procedure as prescribed in section 706-670 only upon the expiration of the
term of mandatory imprisonment fixed under (a)(1),' (2), (3), or (4), herein.
(c)_A_ person convicted of a felony, where the person had _a semi-
automatic firearm or automatic firearm in his possession or used or threatened
its use wh npaged in the commission of the felony, whether the semi-
automatic firearm or automatic firearm was loaded or not, and whether operable
or not. shall in addition to the indeterminate term of imprisonment provided for
the grade of offense be sentenced to a mandatory minimum term of imprison-
ment without possibility of parole or probation the length of which shall be as
follows:
(1) For murder in the sccond degree and attempted murder in the
second degrce__- twenty years:
(2) Fora class A felony ~- fifteen years:
(3) Fora class B felony - ten years; and
(4) Fora class C felony - five years,
The sentence of imprisonment for a felony involving the use of a semi-automatic
firearm or automatic firearm as provided in this subsection shall not be subject to
the procedure for determining minimum term of imprisonment prescnbed under
section 706-669, provided further that a person who is imprisoned in a cor:
rectional institution as provided in this subsection shall become subiect to the
parole procedure as prescribed in section 706-670 only upon the expiration of the
term of mandatory imprisonment fixed under (c)(1), (2), (3), or (4), herein.
} [As used in this section, “firearm” has the meaning defined in section 134-
l.

(d) In this section:

a) “Firearm” has the same meaning defined in_section 134-1] except
at it does nol include “semi-automatic firearm’ or “automatic
tearm.” ae

(2) “Automatic firearm’ has the same meaning defined in‘kection 134-

L —

“Semi-automatic firearm” means any firearm that uses the energy
of the explosive in a fixed cartridge to extract a fired cartridge and

chamber _a fresh cartridge with each single pull of a trigger.”

SECTION 6. Statutory material to be repealed is bracketed. New statu-
tory material is underscored.

SECTION 7. This Act shall take effect upon its approval.
{Approved June 19, 1990.)

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